          Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 1 of 9 Page ID #:8



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 4   Attorney for Plaintiff
 5                              UNITED STATES DISTRICT COURT
 6                             CENTRAL DISTRICT OF CALIFORNIA
 7                                    WESTERN DIVISION
 8
     BERNIE 2020,                                   Case No.
 9
                  Plaintiff,                        APPLICATION FOR TEMPORARY
10                                                  RESTRAINING ORDER
                         v.
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     DEAN C. LOGAN, Los Angeles
12   County Registrar-Recorder/County
     Clerk; and Does 1-100,
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                  Defendants.
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15           Plaintiff, by and through its attorney of record, moves this court for a temporary
16   restraining order, pursuant to Fed. R. Civ. P. 65(b), restraining and enjoining Defendant
17   DEAN C. LOGAN, Los Angeles County Registrar-Recorder/County Clerk, its agents,
18   employees, successors, attorneys, and all persons in active concert and participation with
19   it or them, from closing the polls in Los Angeles County, California for an additional two
20   hours beyond their usual closing hour, or pending a hearing on Plaintiff’s action, filed with
21   this Court on March 3, 2020.
22           Unless this application is granted, Plaintiff will suffer immediate and irreparable
23   injury, loss, and damage if Defendant is permitted to prevent registered voters from casting
24   a ballot before a hearing can be had on Plaintiff’s action, as more fully set forth in the
25
26   / / /
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28   / / /
           Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 2 of 9 Page ID #:9



 1   attached memorandum of points and authorities, the files and records in this case, and such
 2   further evidence and argument as the Court may permit.
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      Dated: March 3, 2020                     Respectfully submitted,
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 5                                                /s/ Yasin M. Almadani
                                               Yasin M. Almadani, Esq.
 6                                             ALMADANI LAW
 7                                             Attorney for Plaintiff
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     Plaintiff’s Application for TRO
           Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 3 of 9 Page ID #:10



 1                        MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.      INTRODUCTION
 3           Plaintiff, a nationwide political committee operating on behalf of Presidential
 4   candidate Bernard Sanders, requests that this Court order the Los Angeles County
 5   Registrar-Recorder to keep certain polling stations open for a period of two hours.
 6   II.     STATEMENT OF FACTS
 7           A.       Los Angeles Debuts a New Elections System in a High Profile
                      Presidential Primary Election
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             For this election, Defendant has implemented a new proprietary voting system
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     across the County, called “Voting Solutions for All People.” Although the County
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     previously conducted a “pilot” election in a limited number of locations, this is the first
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     time these voting systems have been used on a wide scale at polling locations throughout
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     the County. The new technology has resulted in extreme wait times, because of check-in
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     stations not working and machine failures, with insufficient or overwhelmed tech support
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     and an inability to implement back-ups so that voters could cast ballots in a timely manner.
15
             B.       Persistent Problems With Checking in Voters, and Ballot Marking
16                    Devices Cause Lines of Longer Than Two Hours
17           Numerous vote centers in Los Angeles County experienced extremely long wait
18   times on Election Day. In particular:
19           1.       At Logan Elementary School in Echo Park, a wait time of one hour was
20    reported at 12:20 pm, due to 7 of 14 check-in stations not working and 2 of 5 check-in
21    stations not working.
22           2.       At Evergreen Recreation Center on East 2nd Street, a wait time of 1.5 hours
23    was reported at 2:00 pm due to 3 of 5 voting machines not working. Poll workers reported
24    that they had been asking for assistance from the county for days, but got no response,
25    and that the tech support hotline was down.
26           3.       At the Echo Park Recreation Center, a wait time of 1.5 hours was reported at
27    2:00 pm due to only one of the three check-in tablets working.
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     Plaintiff’s Application for TRO
          Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 4 of 9 Page ID #:11



 1           4.       At Mayberry Elementary, wait times of more than 1 hour were reported at
 2    12:20 pm. The check-in tablets weren’t syncing properly.
 3           5.       At Westchester Senior Center, wait times of over 1.5 hours were reported in
 4    the early afternoon.
 5           6.       At Santa Monica Community College, wait times of 1.5 hours were reported
 6    during the afternoon. Only a small number of check-in tablets and voting machines were
 7    operational and there was a shortage of paper.
 8           7.       At True Friendship Missionary Baptist Church, long wait times due to voting
 9    machines arriving late and machines rejecting ballots because they were not tested prior,
10    were reported at 2:50 pm.
11           8.       At Santa Monica Virginia Park, a wait time of 1.5 hours was reported in the
12    late afternoon, due to a shortage of machines.
13           9.       At Ackerman Union on 308 Westwood Plaza, the only voting center at
14    UCLA, a wait time of 2.5 hours and up to 300 students waiting in line were reported at
15    3:15 pm, 4:30pm, and 5:00pm despite 39 available voting machines but only 9 are being
16    utilized due to wifi issues.
17           10.      At Cal State University Northridge, wait times of over 3 hours were reported
18   at 4:40 pm.
19           11.      At St Charles Borromeo Church, wait times of four hours were reported at
20    5:00 pm.
21           12.      At Plummer Park Community Center, wait times of two hours were reported
22    at 5:00 pm.
23           13.      At Sherman Oaks East Valley Adult Center, wait times of over three hours
24    were reported at 5:00 pm.
25           14.      At Crenshaw Mall, wait times of two hours and 100 voters in line were
26    reported at 5:00 pm.
27           15.      At Buena Vista Library in Burbank, wait times of over 2 hours were reported
28    at 5:00 pm.
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     Plaintiff’s Application for TRO
            Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 5 of 9 Page ID #:12



 1            16.     At Elysian Masonic Lodge, wait times of 1.5 - 2 hours were reported at 5:00
 2    pm due to only one working check-in tablet.
 3            At Yucca Community Center, wait times of over 2 hours were reported due to slow
 4   IPads and only 2 out of 3 check in machines working at 5:30 pm.
 5            C.      The Claims for Relief Between the Two Cases Are Largely Different
 6            This case involves seven (7) separate claims for relief that are comprised of
 7   approximately thirty (30) different elements. The foreseeable evidentiary overlap between
 8   this case and the Choi case exists with respect to only one element of one claim brought
 9   against only one set of Defendants (the 8BC Defendants)—to wit, the element of a pattern
10   of fraud as concerning Plaintiff’s RICO claim (the last pled claim in the complaint).
11            The Choi Case, on the other hand, involves sixteen (16) causes of action, only two
12   of which concern fraud and thereby any potential for evidentiary overlap on the element
13   of pattern under RICO.
14   III.     ARGUMENT
15            A.      The Wait Times in the Contested Polling Stations are Patently
                      Unreasonable and Have Effectively Deprived Citizens of the
16                    Fundamental Right To Vote Under the Due Process Clause of the
                      United States Constitution
17
              The United States Constitution protects citizens’ fundamental right to vote and to
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     have their votes counted by way of election procedures that are fundamentally fair. See
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     United States v. Mosely, 238 U.S. 383, 386 (1915); Griffin v. Burns, 570 F.2d 1065, 1076
20
     (1st Cir. 1978). Where “organic failures in a state or local election process threaten to
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     work patent and fundamental unfairness, a . . . claim lies for a violation of substantive due
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     process.” See Bonas v. Town of N. Smithfield, 265 F.3d 69, 74 (1st Cir. 2001); see also
23
     Siegel v. LePore, 243 F.3d 1163, 1187 (11th Cir. 2000) (stating that a federally protected
24
     right is implicated “where the entire election process--including as part thereof the state's
25
     administrative and judicial corrective process--fails on its face to afford fundamental
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     fairness”        (citations       omitted)   Organic   failures   include   “across-the-board
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     disenfranchisement” that signal a “breakdown of the electoral process.” Bonas, 265 F.3d
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     at 75.
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     Plaintiff’s Application for TRO
          Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 6 of 9 Page ID #:13



 1           The Constitution prohibits state and local officials from requiring voters to wait too
 2   long to vote because that would risk turning away a significant portion of the electorate.
 3   See, e.g., Welch v. McKenzie, 765 F.2d 1311, 1317 (5th Cir. 1985) (denying voters relief
 4   because “ordinary dispute over the counting and marking of ballots” is “not actionable in
 5   federal court because of our federal system's recognition that states are primarily
 6   responsible for regulating their own elections” (internal quotation marks omitted)); Gamza
 7   v. Aguirre, 619 F.2d 449, 453 (5th Cir. 1980) (denying voters relief because “[i]f every
 8   state election irregularity were; see also Elora Mukherjee, Abolishing the Time Tax on
 9   Voting, 85 Notre Dame L. Rev. 177, 201 (2009).
10           Here, declarations establish that there are at least seven polling stations with a wait
11   time of an hour or longer, and in some cases, up to four hours. For example, the Echo Park
12   Recreational Center, located in a predominantly Latinx neighborhood, wait times to vote
13   were approximately 1.5 hours, for virtually all voters at the polling place. Similarly, the
14   Ackerman Union polling station has average wait times of two hours. This is not only
15   unreasonable, but deprives the right to vote.
16           Moreover, the declarations further establish that long wait times are confined to
17   certain polling stations, and not in economically advantages locations. This is not only
18   unreasonable, but also constitutes a violation of the equal protection. See Wesberry v.
19   Sanders, 376 U.S. 1, 18 (1964) (To make out a successful claim that different classes of
20   voters are treated dissimilarly, empirical evidence showing nonrandomly distributed long
21   lines and wait times between polling stations).
22           It is axiomatic that long lines at polling stations can violate the due process clause
23   of the U.S. Constitution. See Duncan v. Poythress, 657 F.2d 691, 701, 703 (5th Cir.1981)
24   (“If the election process itself reaches the point of patent and fundamental unfairness, a
25   violation of the due process clause may be indicated and relief under § 1983 may be in
26   order. Such a situation must go well beyond the ordinary dispute over the counting and
27   marking of ballots. . . . “).
28           California polling locations, including those in Los Angeles County, “shall open at

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     Plaintiff’s Application for TRO
          Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 7 of 9 Page ID #:14



 1   7 a.m. the day of any election, and shall be kept open until 8 p.m. of the same day.” See
 2   California Elections Code section 14212. However, here, where the state’s own protocols
 3   have so significantly deprived the right to vote, dissuading voters from exercising the
 4   franchise because of unreasonably long wait times, this Court can and should require the
 5   state to keep polling stations open for a reasonable time.
 6           B.       The Unreasonable Wait Times Violate California Elections Code § 2300
                      and Article II, Section 2 of the California Constitution.
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             California law establishes that all citizens registered to vote have a fundamental
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     right to vote. See Cal. Elections Code § 2300. Moreover, Article II of the California
 9
     Constitution guarantees this.
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             Undeniably the Constitution of the United States protects the right of all qualified
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     citizens to vote, in state as well as in federal elections. See Reynolds v. Sims, 377 U.S. 533,
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     554, 84 S.Ct. 1362, 1377-78, 12 L.Ed.2d 506, 523 (1964). The Supreme Court has stated
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     that qualified voters have both a constitutional protected right to vote, Ex parte Yarbrough,
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     110 U.S. 651, 4 S.Ct. 152, 28 L.Ed. 274 (1884), and a right to have their votes counted,
15
     United States v. Mosley, 238 U.S. 383, 35 S.Ct. 904, 59 L.Ed. 1355 (1915). These rights
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     can neither be denied outright, Lane v. Wilson, 307 U.S. 268, 59 S.Ct. 872, 83 L.Ed. 1281
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     (1939); Guinn v. United States, 238 U.S. 347, 35 S.Ct. 926, 59 L.Ed. 1340 (1915), nor
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     destroyed by alteration of ballots, United States v. Classic, 313 U.S. 299, 315, 61 S.Ct.
19
     1031, 1037, 85 L.Ed. 1368 (1941), nor diluted by ballot-box stuffing, United States v.
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     Saylor, 322 U.S. 385, 64 S.Ct. 1101, 88 L.Ed. 1341 (1944). See also Hadley v. Junior
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     College District, 397 U.S. 50, 90 S.Ct. 791, 25 L.Ed.2d 45 (1970).
22
             Plaintiff, by its attorney, moves this court for a temporary restraining order, pursuant
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     to Fed. R. Civ. P. 65(b), restraining and enjoining Defendant REGISTRAR OF VOTERS
24
     OF LOS ANGELES COUNTY, its agents, employees, successors, attorneys, and all
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     persons in active concert and participation with it or them, from closing the polls in Los
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     Angeles County, California for an additional two hours beyond their usual closing hour,
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     or pending a hearing on Plaintiff’s complaint, filed with this Court on March 3, 2020.
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     Plaintiff’s Application for TRO
           Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 8 of 9 Page ID #:15



 1           Unless this motion is granted, Plaintiff will suffer immediate and irreparable injury,
 2   loss, and damage if Defendant is permitted to prevent registered voters from casting a
 3   ballot before a hearing can be had on Plaintiff’s complaint, as more fully set forth in
 4   Plaintiff’s complaint.
 5   IV.     CONCLUSION
 6           For the foregoing reasons, Plaintiff requests that this Application be granted.
 7
 8    Dated: March 3, 2020                        Respectfully submitted,
 9                                                /s/ Yasin M. Almadani
                                                  Yasin M. Almadani, Esq.
10                                                ALMADANI LAW
11                                                Attorney for Plaintiff
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     Plaintiff’s Application for TRO
         Case 2:20-cv-02096 Document 2 Filed 03/03/20 Page 9 of 9 Page ID #:16



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                               UNITED STATES DISTRICT COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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                                     WESTERN DIVISION
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12   BERNIE 2020,                                 Case No.
13               Plaintiff,                       [PROPOSED] ORDER ON
                                                  APPLICATION FOR TEMPORARY
14                      v.                        RESTRAINING ORDER
15   DEAN C. LOGAN, Los Angeles
     County Registrar-Recorder/County
16   Clerk; and Does 1-100,
17               Defendants.
18
19         THIS ACTION came for consideration before this Court on March 3, 2020, on
20   Plaintiff’s Application for Temporary Restraining Order. Having considered the filings,
21         IT IS ORDERED AND ADJUDGED that Plaintiff’s Application is GRANTED,
22   and Defendant is ordered to keep the voting polls open in Los Angeles County, California
23   for an additional two hours beyond their usual closing hour.
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25
      Dated:
26                                             HON.
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